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_________________________________________________________________________________

                                              SO ORDERED,



                                              Judge Jason D. Woodard
                                              United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________



             IN THE UNITED STATES BANKRUPTCY COURT FOR
                 THE NORTHERN DISTRICT OF MISSISSIPPI


IN THE MATTER OF:                                               CHAPTER 13 CASE NO.:

HELEN WILSON                                                    15-14068-JDW

           AGREED ORDER DENYING MOTION TO DISMISS (DKT. #25)

      THIS MATTER came before the Court on the Motion to Dismiss (Dkt. #25)

(the “Motion”) filed by Locke D. Barkley, Chapter 13 Trustee (“the Trustee”) and

response thereto filed by the Debtor (Dkt. #26). Upon agreement of the parties,

      IT IS ORDERED that:

      1.     The Motion shall be and is hereby denied.

      2.     The plan payment shall be amended to a sum sufficient to afford

completion of the Confirmed Plan (Dkt. #14).

      3.     The post-petition mortgage payment arrears through July 2018 shall

be cured over the remaining term of the plan. The amount necessary to cure such

arrears shall be disbursed monthly by the Trustee together with the continuing

payment.
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      4.     Should the Debtor become 60 days or more delinquent in Chapter 13

plan payments, calculated from August 1, 2017, this case may be dismissed by

subsequent order without further notice or hearing.

      5.     This Agreed Order shall not become final for a period of 21 days, giving

the affected creditor(s) an opportunity to object to the entry of same.

                                ##END OF ORDER##



AGREED & APPROVED:

/s/ Melanie T. Vardaman
MELANIE T. VARDAMAN
ATTORNEY FOR TRUSTEE

/s/ Karen B. Schneller
KAREN B. SCHNELLER
ATTORNEY FOR DEBTOR




                                                                   Prepared by:
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